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                     Facsimile: (310) 557-0056                                      CLERK U.S. BANKRUPTCY COURT
                                                                                    Central District of California
                                                                                    BY remy       DEPUTY CLERK
                     Attorneys for Amy L. Goldman, Chapter 7 Trustee


                                                UNITED STATES BANKRUPTCY COURT

                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                  SAN FERNANDO VALLEY DIVISION



                     In re                                                  Bk. No. 1:09-bk-13964-GM
                     FATBURGER RESTAURANTS OF                               Bk. No. 1:09-bk-13965-GM (Jt. Admin.)
                     CALIFORNIA, INC. AND FATBURGER
                     RESTAURANTS OF NEVADA, INC.
                                                                            Chapter 7
                                     Debtors.
                                                                            ORDER: (1) AUTHORIZING THE
                                                                            SALE OF ESTATE PROPERTY FREE
                                                                            AND CLEAR OF ALL LIENS,
                                                                            CLAIMS, ENCUMBRANCES, AND
                                                                            INTERESTS, WITHOUT OVERBID;
                     ___     Affects Fatburger Restaurants of California,   (2) DETERMINING THAT THE
                             Inc. Only                                      PURCHASER IS A GOOD FAITH
                                                                            PURCHASER UNDER 11 U.S.C. §
                     ___     Affects Fatburger Restaurants of Nevada,       363(m); AND (3) WAIVING 14-DAY
                             Inc. Only                                      STAY PERIOD UNDER FRBP 6004(h)

                      X      Affects Both                                   [No hearing pursuant to LBRs 9013-
                                                                            1(o)(1) and 6004-1(c)(4)]




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                1           The Court having read and considered the Motion of Chapter 7 Trustee for Order
                2    Authorizing the Sale of Estate Property without Overbid (the “Motion”) filed by Amy L.
                3    Goldman, the Chapter 7 trustee (the “Trustee”) for Fatburger Restaurants of California, Inc., and
                4    Fatburger Restaurants of Nevada, Inc. (the “Debtors”) on February 13, 2012, and the
                5    Declaration of Amy L. Goldman (the “Goldman Declaration”) filed in support of the Motion;
                6    there having been no opposition to the Motion; and finding that Notice of the Motion was
                7    adequate and appropriate under the circumstances, and good and sufficient cause appearing
                8    therefor,
                9           IT IS HEREBY FOUND, DETERMINED, AND ORDERED THAT:
              10            1.      The Motion is hereby GRANTED in its entirety.
              11            2.      The Trustee’s sale, without overbid, of estate property, namely, any and all right,
              12     title and interest that the Debtors’ estates may have as putative class members in class action
              13     litigation entitled In re Payment Card Interchange Fee and Merchant-Discount Antitrust
              14     Litigation (Case No. 1:05-md-01720-JG-JO), currently pending in the United States District
              15     Court for the Eastern District of New York (the “Asset”), to Cascade Settlement Services, LLC
              16     (the “Purchaser”), is approved as set forth in the purchase agreement attached as Exhibit “A” to
              17     the Goldman Declaration (the “APA”).
              18            3.      The consideration to be provided by the Purchaser pursuant to the APA: (i) is fair
              19     and reasonable; (ii) is the highest and otherwise best offer for the Asset; and (iii) will provide a
              20     greater recovery for the Debtors’ estates than would be provided by any other practically
              21     available alternative.
              22            4.      The Trustee’s sale of the Asset to the Purchaser shall be free and clear of any and
              23     all liens, claims, encumbrances and interests pursuant to 11 U.S.C. § 363(f).
              24            5.      The Trustee is authorized and directed to: (i) close, consummate and comply
              25     with the APA and all other agreements and documents related to and contemplated thereby
              26     (collectively, the “Sale Documents”), which Sale Documents hereby are authorized and
              27     approved in all respects, and (ii) execute such other documents and take such other actions as
              28     are necessary or appropriate to effectuate the APA.

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                1           6.      The transactions contemplated by the APA are undertaken by the Trustee and the
                2    Purchaser in good faith, as that term is used in 11 U.S.C. § 363(m). The Purchaser is a good
                3    faith purchaser of the Asset and is entitled to all of the protections afforded by 11 U.S.C. §
                4    363(m).
                5           7.      Notwithstanding Rule 6004(h) of the Federal Rules of Bankruptcy Procedure,
                6    this Order shall not be stayed for fourteen (14) days after entry of this Order. This Order shall
                7    be effective and enforceable immediately upon its entry.
                8           8.      A failure to approve explicitly any particular provision of the APA in this Order
                9    shall not diminish or impair the efficiency of such provision, it being the intent of the Court that
              10     the APA be approved in its entirety.
              11            9.      The terms and provisions of the APA, together with the terms and provisions of
              12     this Order, shall be binding in all respects upon, and shall inure to the benefit of, the Trustee, the
              13     Debtors’ estates and their creditors, the Purchaser and its affiliates, successors and assigns and
              14     any affected third parties.
              15            10.     The Court shall retain jurisdiction with respect to any matters, claims, rights or
              16     disputes arising from or related to the implementation of this Order.
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                     DATED: March 1, 2012
              24                                                United States Bankruptcy Judge

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                              PROOF OF SERVICE OF DOCUMENT

 I am employed in the city and county of Los Angeles, State of California. I am over the age of 18 and
 not a party to the within action. My business address is:
   Landau Gottfried & Berger LLP, 1801 Century Park East, Suite 700, Los Angeles, CA 90067.

 A true and correct copy of the foregoing document described ORDER: (1) AUTHORIZING THE
 SALE OF ESTATE PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIMS,
 ENCUMBRANCES, AND INTERESTS, WITHOUT OVERBID; (2) DETERMINING THAT
 THE PURCHASER IS A GOOD FAITH PURCHASER UNDER 11 U.S.C. § 363(m); AND (3)
 WAIVING 14-DAY STAY PERIOD UNDER FRBP 6004(h) will be served or was served (a) on the
 judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated
 below:

 I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) –
 Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
 document will be served by the court via NEF and hyperlink to the document. On         I checked the
 CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
 person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email address(es)
 indicated below:

                                                         Service information continued on attached page

 II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity
 served): On February 28, 2012 I served the following person(s) and/or entity(ies) at the last known
 address(es) in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof
 in a sealed envelope in the United States Mail, first class, postage prepaid, and/or with an overnight
 mail service addressed as follows. Listing the judge here constitutes a declaration that mailing to the
 judge will be completed no later than 24 hours after the document is filed.

 BY US MAIL
 United States Bankruptcy Court
 Honorable Geraldine Mund
 Central District of California
 21041 Burbank Boulevard, Suite 342
 Woodland Hills, CA 91367
                                                         Service information continued on attached page

 III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL
 (indicate method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 ______I served the following person(s) and/or entity(ies) by personal delivery, or (for those who
 consented in writing to such service method), by facsimile transmission and/or email as follows.
 Listing the judge here constitutes a declaration that personal delivery on the judge will be completed
 no later than 24 hours after the document is filed.

                                                         Service information continued on attached page

 I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 true and correct.

   February 28, 2012          Ghirlandi C. Guidetti                 /s/ Ghirlandi C. Guidetti
   Date                          Type Name                          Signature
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                    NOTICE OF ENTERED ORDER AND SERVICE LIST

 Notice is given by the court that a judgment or order entitled ORDER: (1) AUTHORIZING THE
 SALE OF ESTATE PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIMS,
 ENCUMBRANCES, AND INTERESTS, WITHOUT OVERBID; (2) DETERMINING THAT
 THE PURCHASER IS A GOOD FAITH PURCHASER UNDER 11 U.S.C. § 363(m); AND (3)
 WAIVING 14-DAY STAY PERIOD UNDER FRBP 6004(h) was entered on the date indicated as
 “Entered” on the first page of this judgment or order and will be served in the manner indicated
 below:

 I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
 controlling General Order(s) and Local Bankruptcy Rule(s), the foregoing document was served on
 the following person(s) by the court via NEF and hyperlink to the judgment or order. As of February
 28, 2012, the following person(s) are currently enrolled in the Electronic Mail Notice List for this
 bankruptcy case or adversary proceeding to receive NEF transmission at the email address(es)
 indicated below:

   Ron Bender rb@lnbyb.com
   Bradley D Blakeley bblakeley@blakeleyllp.com,
     seb@blakeleyllp.com;rclifford@blakeleyllp.com;ecf@blakeleyllp.com;jwhite@blakeleyllp.com
   Gustavo E Bravo gbravo@smaha.com
   Steven L Bryson slblaw1@aol.com, ecf.SLB@gmail.com
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   Candace Carlyon ccarlyon@sheacarlyon.com
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   I Bruce Speiser bspeiser@pircher.com
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   Roye Zur rzur@lgbfirm.com, jcasillas@lgbfirm.com

                                                        Service information continued on attached page

 II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this
 judgment or order was sent by United States Mail, first class postage prepaid, to the following
 person(s) and/or entity(ies) at the address(es) indicated below:

 Office of the U.S Trustee
 Attn: Margaux Ross
 21051 Warner Center Lane, Ste 115
 Woodland Hills, CA 91367

 Cascade Settlement Services LLC
 Attn: John Chilcott
 100 Shoreline Highway, Suite B-125
 Mill Valley, CA 94941


                                                      Service information continued on attached page


 III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this
 judgment or order which bears an “Entered” stamp, the party lodging the judgment or order will serve
 a complete copy bearing an “Entered” stamp by U.S. Mail, overnight mail, facsimile transmission or
 email and file a proof of service of the entered order on the following person(s) and/or entity(ies) at
 the address(es), facsimile transmission number(s), and/or email address(es) indicated below:


                                                     Service information continued on attached page
